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Home / Lighting / Outdoor Lighting / Outdoor Wall Mounted Lighting / Outdoor Lanterns & Sconces

                                                                                            
Model # 22411        Internet #300088962   Store SKU #1002099626




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    Exclusive


Home Decorators Collection
McCarthy 1-Light Bronze with Gold Highlights Outdoor Motion
Sensor Wall Lantern
                    (177)    Write a Review      Questions & Answers (74)

    • 12.5 in. Outdoor Wall Lantern that complements exterior décor
    • Bronze Finish with Clear Glass and Weather Resistant
    • Shop the Home Decorators McCarthy Outdoor Lighting Collection


                $
                    64 97       /each


Fixture Color/Finish: Bronze with Gold Hightlights



                                                                             EXHIBIT B 035
     Case 5:18-cv-02549 Document 1-2 Filed 12/04/18 Page 2 of 12 Page ID #:37




Product Width (in.): 6.25

 6.25        8       10



     LET'S PROTECT THIS.
     Add a 2-year Home Depot Protection Plan for $12.00
     Learn More



Quantity         -          1           +


          Pick Up In Store Today

         Aisle 43, Bay 018 Text to Me

          4 in stock at Sixes Road

                                                  Add to Cart

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          We'll Deliver It to You

         Order within 5 hrs 17 mins to get it by December 11

         Free Delivery

                                                  Add to Cart



          Get it tomorrow for as low as $35.00. Delivery Options


                                   We're unable to ship this item to:
                                              GU, PR, VI


                                                       Easy returns in store and online
                                                                                          EXHIBIT B 036
  Case 5:18-cv-02549 Document 1-2 Filed 12/04/18 Page 3 of 12 Page ID #:38




Product Overview
This traditional 1-Light McCarthy Motion Sensor wall mount lantern from Home Decorators
Collection is beautifully sculpted in die-cast aluminum for a classic look that is sure to enhance
your outdoor decor. The hand applied bronze finish features gold highlights to give this fixture a
timeless look. The clear ribbed glass lets the one 60-Watt medium based bulb (not included) shine
through to illuminate your outdoor surroundings. 220° of motion sensing, it detects motion up to 40
ft. away.


 • Durable plated metal construction is built for long product life
 • Attractive and durable hand applied bronze finish with silver highlights to augment the look of
   any home
 • 220°, 40 ft. field of motion detection
 • Uses one 60-Watt medium base bulbs (not included)
 • Clear ribbed glass gives a bright look to any outdoor setting
 • Traditional styling for a classic accent to your home
 • Includes assembly and installation part
 • ETL approved for wet locations
 • Click here for more information on Electronic Recycling Programs


 Info & Guides
   • Instructions / Assembly
   • Use and Care Manual
   • Warranty

 You will need Adobe® Acrobat® Reader to view PDF documents. Download a free copy from
 the Adobe Web site.




Specifications

                                                                                           EXHIBIT B 037
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Dimensions
 Product Depth (in.)

 7.5

 Product Height (in.)

 12.5

 Product Length (in.)

 6.25

 Product Width (in.)

 6.25



Details
 Exterior Lighting Product Type

 Outdoor Lanterns

 Fixture Color/Finish

 Bronze with Gold Hightlights

 Fixture Material

 Aluminum

 Glass/Lens Type

 Clear

 Included

 Hardware Included,Motion Sensor

 Light Bulb Base Code

 E26

 Light Bulb Type Included

 Incandescent


                                                                  EXHIBIT B 038
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 Maximum Bulb Wattage

 60

 Maximum Wattage (watts)

 60

 Number of Bulbs Required

 1

 Outdoor Lighting Features

 Motion Sensing,Weather Resistant

 Power Type

 Hardwired

 Product Weight (lb.)

 1.90lb

 Recommended Light Bulb Shape Code

 A19

 Returnable

 90-Day

 Style

 Transitional



Warranty / Certifications
 Certifications and Listings

 ETL Listed

 Manufacturer Warranty

 Three (3) year limited warranty




                                                                  EXHIBIT B 039
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How can we improve our product information? Provide feedback.




                                                                   EXHIBIT B 040
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Home / Lighting / Outdoor Lighting / Outdoor Wall Mounted Lighting / Outdoor Lanterns & Sconces

                                                                                            
Model # 22211     Internet #300088974   Store SKU #1002099636




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    Exclusive


Home Decorators Collection
Port Oxford 1-Light Oil-Rubbed Chestnut Outdoor Motion
Sensor Wall Lantern
                (78)     Write a Review      Questions & Answers (34)

    • 10.625 in. Outdoor Wall Lantern that complements exterior décor
    • Oil Rubbed Finish with Frosted Glass and Weather Resistant
    • Shop the Home Decorators Port Oxford Outdoor Lighting Collection


 $
      64 97      /each




                                                                             EXHIBIT B 041
    Case 5:18-cv-02549 Document 1-2 Filed 12/04/18 Page 8 of 12 Page ID #:43


   LET'S PROTECT THIS.
   Add a 2-year Home Depot Protection Plan for $12.00
   Learn More



Quantity    -            1           +


        Pick Up In Store Today

      Aisle 43, Bay 018 Text to Me

        2 in stock at Sixes Road

                                               Add to Cart

      Check Nearby Stores



                                               or

        We'll Deliver It to You

      Order within 1 hr 15 mins to get it by December 5

      Free Delivery

                                               Add to Cart



        Get it tomorrow for as low as $35.00. Delivery Options


                                We're unable to ship this item to:
                                         GU, PR, VIMore


                                                    Easy returns in store and online
       Or buy now with                              Learn about our return policy




                                                                                       EXHIBIT B 042
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Product Overview
The Home Decorators Collection Port Oxford Motion Wall-Mount 1-Light Outdoor Oil-Rubbed
Chestnut Lantern has a classic design for an attractive, but unobtrusive accent to your home
decor. This beautiful fixture is presented in a versatile hand-applied; multi-step, Oil-rubbed
Chestnut finish with Pearl Mission glass uses a medium base incandescent bulb, 60-Watt
maximum (not included). 220 degree of motion sensing, it detects motion up to 40 ft. away.


 • Rugged die-cast aluminum housing is ideal for outdoor installation
 • Oil-rubbed chestnut finish enhances the mission style of this beautiful fixture
 • Pearl mission glass panes create a diffused effect when illuminated
 • Wall-mount design can be installed to illuminate porches or other outdoor walled spaces
 • Uses one 60-Watt medium base bulbs (not included)
 • Direct wire fixture, instructions included for ease of installation
 • 220 degree, 40 ft. field of motion detection
 • Additional coordinating fixtures available in store, online or through special order
 • ETL approved for wet locations
 • Click here for more information on Electronic Recycling Programs


 Info & Guides
   • Instructions / Assembly
   • Use and Care Manual
   • Warranty

 You will need Adobe® Acrobat® Reader to view PDF documents. Download a free copy from
 the Adobe Web site.




Specifications
Dimensions
 Product Depth (in.)

 6.625 in

 Product Height (in.)

                                                                                            EXHIBIT B 043
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 10.625 in

 Product Length (in.)

 5.75 in

 Product Width (in.)

 5.75 in



Details
 Detection Range (ft.)

 40

 Exterior Lighting Product Type

 Outdoor Lanterns

 Fixture Color/Finish

 Oil Rubbed Chestnut

 Fixture Material

 Aluminum

 Glass/Lens Type

 Frosted

 Included

 Hardware Included,Motion Sensor

 Light Beam Angle

 220

 Light Bulb Base Code

 E26

 Light Bulb Type Included



                                                                   EXHIBIT B 044
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 No Bulbs Included

 Maximum Bulb Wattage

 60

 Maximum Wattage (watts)

 60

 Number of Bulbs Required

 1

 Outdoor Lighting Features

 Motion Sensing,Weather Resistant

 Power Type

 Hardwired

 Product Weight (lb.)

 1.90lb

 Recommended Light Bulb Shape Code

 A19

 Returnable

 90-Day

 Style

 Transitional



Warranty / Certifications
 Certifications and Listings

 ETL Listed

 Manufacturer Warranty

 Three (3) year limited warranty

                                                                   EXHIBIT B 045
 Case 5:18-cv-02549 Document 1-2 Filed 12/04/18 Page 12 of 12 Page ID #:47




How can we improve our product information? Provide feedback.




Recently Viewed Items




 Home Decorators
 Collection
 McCarthy 1-Light
              (177)




                                                                   EXHIBIT B 046
